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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                            No. 15-157V
                                     Filed: November 13, 2015
                                         Not for Publication

*************************************
DANIELLE GROOM,                     *
                                    *
            Petitioner,             *
                                    *                         Damages decision based on
 v.                                 *                         stipulation; Hepatitis A (“Hep A”)
                                    *                         vaccine; Guillain-Barré syndrome
SECRETARY OF HEALTH                 *                         (“GBS”)
AND HUMAN SERVICES,                 *
                                    *
            Respondent.             *
                                    *
*************************************

Amy C. Gunn, St. Louis, MO, for petitioner.
Gordon E. Shemin, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

         On November 13, 2015, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that she suffered Guillain-
Barré Syndrome (“GBS”) that was caused by her February 5, 2014 receipt of the Hepatitis A
(“Hep A”) vaccine. Respondent denies that the Hep A vaccine caused petitioner’s GBS or any
other injury. Nonetheless, the parties agreed to resolve this matter informally.




1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat.
2899, 2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be
made available to the public unless they contain trade secrets or commercial or financial information that
is privileged and confidential, or medical or similar information whose disclosure would constitute a
clearly unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify
and move to delete such information prior to the document’s disclosure. If the special master, upon
review, agrees that the identified material fits within the banned categories listed above, the special
master shall delete such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$225,000.00, representing reimbursement for all damages that would be available under 42
U.S.C. § 300aa-15(a) (2012). The award shall be in the form of a check payable to petitioner in
the amount of $225,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: November 13, 2015                                                           s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                     Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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